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Kathryn A. Peck

33 Lawrence Street
Framingham, MA 01702
August 22, 2019

Honorable Leo T. Sorokin
United States District Court
1 Courthouse Way

Boston, MA 02210

Dear Judge Sorokin:

My name is Kathryn Peck. | was a Nationally Certified Athletic Trainer for over 30 years
and worked with Walter Johnson at Harvard University for 10 years. Walter was on the
coaching staff of the Men & Women's Track teams and | took care of the medical needs
of those athletes. Walter has always been a laid back and friendly, but professional
coach. He was always very well liked by the men & women of the Harvard Track teams,
as well as by the other coaches & administrators at Harvard University. We both left
Harvard University but live near each other and have kept in touch over the last 20
years.

Walter has always been easy to be around. He's intelligent and funny. I've never seen
him be confrontational or judgmental. He loves to cook and he loves to exercise and
keep healthy. | can't remember a time when he wasn't smiling & enjoying life.

| am aware that Walter has plead guilty to the charge of possessing child pornography.
Walter is also very aware of the seriousness of his offense. It pains me to see him lose
his smile and love of life.

Sincerely yours,

fotth fk Prk ,

Kathryn A. Peck, ATC-retired
